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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                          Plaintiff,
        v.                                       Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE and KEBE
STUDIOS LLC,
                Defendants.


              BRIEF IN SUPPORT OF PLAINTIFF’S
      MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

      This is a diversity action commenced by Plaintiff Belcalis Marlenis

Almánzar p/k/a Cardi B (“Plaintiff”) against Defendant Latasha Kebe (“Kebe”)

and Kebe Studios LLC’s (“Kebe Studios”) (collectively, “Defendants”). Plaintiff

moves this Court, pursuant to Fed. R. Civ. P. 5.2(d) and 26(c), the parties’ Consent

Protective Order (ECF No. 53), and Section II.J. to Appendix H of this Court’s

Local Rules, for an Order permitting Plaintiff to file certain documents under seal.

      This Court is permitted, for good cause, to shield the disclosure of

confidential information from the public record. See Fed. R. Civ. P. 26(c).

“Because ‘[t]he prospect of all discovery material being presumptively subject to

the right of access would likely lead to an increased resistance to discovery
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requests,’ we have recognized an exception to the public right of access.” Romero

v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007) (quoting United States v.

Anderson, 799 F.2d 1438, 1441, n.10 (11th Cir.1986)).

      On September 17, 2020, this Court previously entered the Consent

Protective Order in this case providing for the filing of documents under seal. (See

ECF No. 53.) The documents listed below contain information (i) designated by

Kebe as “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS EYES

ONLY”; (ii) that is confidential because they contain references to, or excerpts

from, documents that Kebe has designated as “CONFIDENTIAL” or

CONFIDENTIAL-ATTORNEYS EYES ONLY”; or (iii) from depositions and

such deposition testimony shall be treated as confidential pursuant to Paragraph 9

of the Consent Protective Order because there are portions that discuss material

designated as “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS EYES

ONLY” by Kebe. To the extent Kebe wishes for the information to remain

“Confidential,” it is Kebe’s ultimate burden to establish good cause for sealing. See

Section II.J.2.e. to Appendix H of this Court’s Local Rules.

      For the reasons set forth herein Plaintiff respectfully requests permission to

file the following documents supporting Plaintiff’s motion for summary judgment,

under seal:



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      1.    Plaintiff’s Reply Memorandum of Law in Support of Plaintiff’s

            Motion for Summary Judgment Against Defendant Kebe because it

            quotes from, references, or describes documents and testimony that

            have been designated as “CONFIDENTIAL” or “CONFIDENTIAL-

            ATTORNEYS EYES ONLY”;

      2.    Plaintiff’s Response to Kebe’s Statement of Additional Material Facts

            because it quotes from, references, or describes documents and

            testimony that have been designated as “CONFIDENTIAL” or

            “CONFIDENTIAL-ATTORNEYS EYES ONLY”; and

      3.    Plaintiff’s Reply Statement of Material Facts in Support of Summary

            Judgment Against Defendant Kebe because it quotes from, references,

            or describes documents and testimony that have been designated as

            “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS EYES

            ONLY.”

      For the foregoing reasons, Plaintiff respectfully requests that this Court grant

her motion to file the documents listed above under seal.


Dated: February 8, 2021                Respectfully submitted,

                                       /s/ W. Andrew Pequignot
                                       Sarah M. Matz (admitted pro hac vice)
                                       Gary P. Adelman (admitted pro hac vice)


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                             Attorneys for Plaintiff




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                       CERTIFICATION AS TO FONT

      In accordance with Local Rule 7.1(D), the undersigned certifies that the

foregoing document was prepared with Times New Roman 14, a font and point

selection approved by the Court in Local Rule 5.1(C).


                                      /s/ W. Andrew Pequignot
                                      W. Andrew Pequignot
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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2021, I electronically filed the foregoing

BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO FILE

DOCUMENTS UNDER SEAL with the Clerk of the Court using the CM/ECF

system, which will automatically send email notification of such filing to all of the

attorneys of record.

                                       /s/ W. Andrew Pequignot
                                       W. Andrew Pequignot
